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                                              December 23, 2020

VIA ECF                             Defendant Ghislaine Maxwell is
                                    hereby ORDERED to show cause, no
The Honorable Debra Freeman         later than 12/30/2020, why the Court
Daniel Patrick Moynihan             should not enter a dismissal order in
United States Courthouse            the form proposed by Plaintiff.
500 Pearl St.
                                                                              Dated: 12/28/2020
New York, NY 10007-1312

       Re:     Annie Farmer v. Darren K. Indyke, Richard D. Kahn, & Ghislaine Maxwell
               19-10475-LGS-DCF

Dear Judge Freeman:
        On December 16, 2020, the parties appeared before the Court for a telephone conference
on Ms. Farmer’s motion to dismiss this case pursuant to Rule 41. During that conference, we
explained that after Maxwell refused to stipulate to dismissal, we offered to provide Maxwell with
a redacted copy of the General Release that Ms. Farmer signed in connection with the Epstein
Victims’ Compensation Program. Maxwell’s counsel stated that she was concerned about the
authenticity of a redacted version of the General Release for use in future proceedings. Tr. of Dec.
16, 2020 Hearing at 8:21–23. In addition to clearly stating that the Court would not order Ms.
Farmer to disclose the amount of compensation to Maxwell, the Court suggested that Ms. Farmer
provide a redacted version of the General Release to Maxwell with a letter stating that neither she
nor the Estate would contest the redacted General Release’s authenticity. Id. at 10:16–21, 14:7–
8, 11–15. Both we and Maxwell’s counsel agreed with that solution. Id. at 10:23–11:2, 12:19–
22. The Court stated that it would make itself available for another conference if necessary. Id.
15:19–20.
        The very next day, we asked Maxwell’s counsel if, pursuant to the Court’s suggestion, she
would stipulate to dismissal of this action after receiving a copy of the executed General Release,
with the compensation amount redacted, plus a letter signed by counsel for Ms. Farmer and the
Estate stating that the document is authentic and that we would not dispute its authenticity. We
also provided her with the verbatim language we proposed including in the letter. Exhibit A at 5–
6. Maxwell’s counsel did not respond, so we emailed her again four days later asking her to
provide us with an answer by the end of the day. Id. at 5. Maxwell’s counsel repeatedly refused
to provide us with a date or time on which she intended to speak to her client. Id. at 1–4. Maxwell’s
counsel also refused to confer with us, and then stopped responding to our emails altogether. Id.
at 1–2.
       As Your Honor noted at the telephone conference, this should be a straightforward issue.
Ms. Farmer is essentially seeking to dismiss her claims against Maxwell without asking for
anything at all from Maxwell in return. We have offered several times to provide Maxwell with
what she has demanded—a copy of the General Release that Ms. Farmer originally understood
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would remain confidential, with only the amount redacted—yet Maxwell continues to delay
resolution of this matter for no conceivable reason. At this point, it is readily apparent that
Maxwell is not participating in this meet and confer in good faith and is instead focused on
delaying Ms. Farmer’s receipt of her compensation. It appears this conduct may be in retaliation
for Ms. Farmer’s recent submission in the bail proceedings pending before Judge Nathan as
evidenced by her counsel’s statement: “Your client has been vocal in asking that Ms. Maxwell be
kept in custody, which of course makes it more difficult for her to communicate with her attorneys.”
See, e.g., id. at 4.

        Ms. Farmer thus requests (A) an order directing Maxwell to respond to our offer to provide
a redacted General Release with a letter stating that we will not dispute its authenticity in exchange
for her agreement to stipulate to a dismissal of this action with prejudice, with each party to bear
its own fees and costs by no later than Monday, December 28, 2020; (B) a second conference with
the Court; or (C) an order dismissing this action with prejudice, with each party to bear its own
fees and costs.1


                                                      Respectfully submitted,


                                                      /s/ Sigrid S. McCawley
                                                      Sigrid S. McCawley, Esq.



cc: Counsel of Record (via ECF)




1A proposed order consistent with the Court’s guidance at the December 16, 2020, hearing is
attached hereto.
